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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
LUBBOCK DIVISION
FORD MOTOR CREDIT CoO., LLC,

Plaintiff,

BART REAGOR AND RICK DYKES,

Defendants. Civil Action No. 5:18-CV-186-C

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V. )
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ORDER
The Court hereby ORDERS that the Court’s trial setting of October 1, 2019, be
VACATED and that this civil action be rescheduled for trial at 9:00 a.m. on October 2, 2019, in

the United States District Courtroop. Lubbock, Texas.

SO ORDERED this / 7 day of September, 2019.

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